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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF VERMONT



UNITED STATES OF AMERICA,                    :
          Plaintiff,                         :
                                             :
               v.                            :      File No. 1:03-cr-35-jgm-1
                                             :
ANDREW CAPOCCIA,                             :
         Defendant.                          :


                            ORDER FOR DISTRIBUTION
                       OF PROCEEDS AND SUBSTITUTE ASSETS

       WHEREAS, in Counts 19-23 and 25-30 of the Second Superseding Indictment in the above-

captioned case, the United States sought forfeiture of specific property of the above-captioned

defendant pursuant to 18 U.S.C. §§ 981(a)(1)(C), 982, 1956, 1957, 1961, 2314 and 28 U.S.C. §

2461(c) as property constituting or derived from any proceeds traceable to violations of 18 U.S.C.

§§ 1341, 1343, 1956(a)(1)(A) and (a)(1)(B), 2314, and 2315;

       AND WHEREAS, on April 5, 2005, Andrew Capoccia was found guilty of Counts 1-5, 7,

and 9-15 of the Second Superseding Indictment;1

       AND WHEREAS, in December 2005, the bankruptcy trustee for In Re: Daly & Sinnott Law

Centers PLLC, Docket No. 01-10011, tendered $975,695.16 to the Clerk of the Court that was

invested in the Court’s CRIS system. As of January 18, 2012, there is a balance of $1,074.039.59;

       AND WHEREAS, this Court entered a Preliminary Order of Forfeiture on February 2, 2006,

declaring that pursuant to 18 U.S.C. §§ 2, 981(a)(1)(C), 982, 1956, 1957, 1961, 2314, 21 U.S.C. §




       1
         The United States has since then dismissed Counts 14 and 15. See United States v.
Capoccia, No. 1:03-CR-35, Govt. Resp. Mem. (Paper 525) at 1, n.1 (D.Vt. filed Jan. 12, 2009).
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853, and 28 U.S.C. § 2461(c), the United States was entitled to a money judgment in the amount of

$6,247,581 and forfeiture of the seized assets consisting of the following:

       (a)      Contents in Account No. 059-644190-69, in the name of or for the benefit of Carol
                Capoccia, LLC, at Prudential Securities;

       (b)      Contents in Account No. TBJ967131E6, in the name of or for the benefit of
                Valentino Enterprises, Inc., at Prudential Securities;

       (c)      Contents in Account No. 35-740-093, in the name of or for the benefit of Carol
                Capoccia, LLC, at Wachovia Bank;

       (d)      Contents in Account No. 325450051868, in the name of or for the benefit of Carol
                Capoccia, LLC, at Key Bank;

       (e)      Contents in Account No. 325490036895, in the name of or for the benefit of Eugene
                A. Bizzarro and/or Deana Bizzarro Karam, at Key Bank;

       (f)      Contents in Account No. 0417003221519, in the name of or for the benefit of Carol
                Capoccia, at SunTrust Bank;

       (g)      Contents in E-Trade Account No. 1091-1898, in the name of or for the benefit of
                Eugene A. Bizzarro, at E-Trade Securities, Inc.;

       (h)      Jewelry, a Beaded Compact, a Silver Plated Travel Photo Album, and 6 Waterford
                Lismore Brandy Balloons;

       (i)      Improvements, in the Minimum Amount of $75,000, to 56 Bentwood Drive East,
                Guilderland, New York;

       (j)      U.S. Funds in the Amount of $50,000, in the Possession or Control of Eugene A.
                Bizzarro;

       (k)      Contents in Account No. 52164, in the name of or for the benefit of Carlo Spano, at
                State Employee’s Federal Credit Union; and

       (l)      Contents in PNC Account No. 8019327712, the operating account for Debt
                Settlement Associates;




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        AND WHEREAS, on February 3, 2006, Andrew Capoccia was sentenced and on February

6, 2006, a Judgment was entered against Andrew Capoccia with restitution in the amount of

$7,256,433.60;

        AND WHEREAS, on February 6, 2006, Andrew Capoccia filed an appeal of the Preliminary

Order of Forfeiture;

        AND WHEREAS, on February 10, 2006, Andrew Capoccia filed an appeal of his conviction

and sentence;

        AND WHEREAS, on May 4, 2006, this Court entered an Order of Restitution in the amount

of $7,256,433.60;

        AND WHEREAS, on May 10, 2006, Andrew Capoccia filed an appeal of Order of

Restitution;

        AND WHEREAS, on August 15, 2006, this Court entered a Final Order of Forfeiture;

        AND WHEREAS, on September 19, 2007, in a Summary Order, the Second Circuit Court

of Appeals affirmed in part, vacated in part, and remanded for further proceedings this Court’s

Preliminary Order of Forfeiture in Docket No. 06-0669-cr;

        AND WHEREAS, on September 19, 2007, in a Summary Order, the Second Circuit Court

of Appeals affirmed the judgment of conviction of Andrew Capoccia and found the remaining claims

regarding dismissal of the indictment, motion for new trial, and the May 4, 2006 Restitution Order

to be without merit in Docket Nos. 06-0670-cr and 06-2296-cr;

        AND WHEREAS, on July 29, 2009, a hearing was held with regard to the remanded

forfeiture issues;




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        AND WHEREAS, on August 19, 2009, this Court entered an Amended Preliminary Order

of Forfeiture, declaring that pursuant to 18 U.S.C. §§ 2, 981(a)(1)(C), 982, 1956, 1957, 1961, 2314,

21 U.S.C. § 853, and 28 U.S.C. § 2461(c), the United States was entitled to a money judgment in

the amount of $6,178,840 and forfeiture of all the seized assets (with an offset for their value against

the money judgment), with all the seized assets being forfeitable either directly or as substitute assets

under 21 U.S.C. § 853(p);

        AND WHEREAS, on August 25, 2009, Andrew Capoccia appealed the Amended

Preliminary Order of Forfeiture;

        AND WHEREAS, on March 2, 2010, Carol Anne De Chiro f/k/a Carol Capoccia filed a

Petition for Ancillary Hearing;

        AND WHEREAS, on April 29, 2010, this Court issued a Ruling on Government’s Motion

to Dismiss Petition of Carol Anne De Chiro f/k/a Carol Capoccia striking the Petition based on

judicial estoppel and lack of statutory standing;

        AND WHEREAS, on December 7, 2010, in a Summary Order, the Second Circuit Court of

Appeals affirmed this Court’s Amended Preliminary Order of Forfeiture in Docket No. 08-5843-cr

(L);

        AND WHEREAS, on January 6, 2011, Valentino Enterprises, Inc. and Carol Capoccia LLC

filed a Petition for Ancillary Proceeding;

        AND WHEREAS, on May 19, 2011, this Court entered an order granting the Government’s

Motion to Dismiss the petition of Valentino Enterprises, Inc., and Carol Capoccia, LLC for an

Ancillary Proceeding as untimely;




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       AND WHEREAS, on September 19, 2011, the Government filed a Motion to Transfer

Money to the Court for Restitution held by Raymond James & Associates;

       AND WHEREAS, on September 28, 2011, this Court granted the Government’s Motion to

Transfer Money to Court for Restitution, and $13,509.98 was received by the Clerk of the Court in

November 2011;

       AND WHEREAS, on October 4, 2011, Andrew Capoccia was re-sentenced and ordered to

pay restitution in the amount of $7,256,445.60 and forfeit the proceeds and substitute assets;

       AND WHEREAS, on October 12, 2011, this Court entered an Amended Final order of

Forfeiture declaring that pursuant to 18 U.S.C. §§ 2, 981(a)(1)(C), 982, 1956, 1957, 1961, 2314, 21

U.S.C. § 853, and 28 U.S.C. § 2461(c), the United States was entitled to possession of the Proceeds

and the Substitute Assets.

       AND WHEREAS, in U.S. v. Stephanie Gardner, Criminal No. 1:01-CR-100, Final Orders

of Forfeiture were entered on May 15, 2007 and June 9, 2010, for assets totaling $53,670.61;

       AND WHEREAS, in U.S. v. Howard Sinnott, Criminal No. 1:03-CR-35-2, Final Orders of

Forfeiture were entered on April 20, 2005 and July 14, 2006, for assets totaling $10,229.24;

       AND WHEREAS, restitution payments have been made by defendants Kolsky, Sinnott, Daly,

and Dinatale, as well as by Stephanie Gardner, U.S. v. Stephanie Gardner, Criminal No. 1:01-CR-

100, and Jerry Forkey, U.S. v. Forkey, Criminal No. 1:02-CR-58, for a total of $140,532.32 as of

January 18, 2012;

       AND WHEREAS, the Department of Justice is considering a request for restoration, whereby

all forfeited assets would be transferred to the Court to be made available to the victims of the




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defendant’s crimes, along with the funds already deposited, including restitution payments and the

funds transferred from the Bankruptcy Court.

        Accordingly, it is hereby ORDERED, ADJUDGED AND DECREED:

        1. As soon as the Court receives all forfeited assets from the Department of Justice, the Clerk

of the Court shall start the process of distributing all assets available to the victims, pursuant to the

Restitution Order.

        2. This Court shall retain jurisdiction over this action to enforce this agreement and take such

other action as may be necessary.

        Dated at Brattleboro, in the District of Vermont, this 3rd day of February, 2012.



                                                        /s/ J. Garvan Murtha
                                                        Honorable J. Garvan Murtha
                                                        United States District Judge




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